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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                         )
RYAN MOUNT, individually and on          )
behalf of all other similarly situated   )
individuals,                             )
                                         )       Civil Action No. 1:18-cv-08434
              Plaintiff,                 )
                                         )       JURY DEMANDED
              v.                         )
                                         )
INTERNATIONAL BUSINESS                   )
MACHINES CORP.                           )
                                         )
              Defendant.                 )
                                         )

                                THIRD AMENDED CLASS
                           AND COLLECTIVE ACTION COMPLAINT

       1.     This is a class and collective action brought by Ryan Mount on behalf of

himself and all other similarly situated employees who have worked for Defendant

International Business Machines Corporation (hereinafter “IBM”), alleging that IBM,

through its termination and hiring practices, has violated the Age Discrimination in

Employment Act, as amended (“ADEA”), 29 U.S.C. § 621 et seq., as well as the

California Fair Employment and Housing Act, Cal. Gov’t Code § 12900, et seq. (for the

employees who worked in California). As described further below, IBM has

discriminated, and continues to discriminate, against its older workers, both by laying

them off (or terminating or constructively discharging them) disproportionately to

younger workers and then not hiring them for open positions. Over the last several

years, IBM has been in the process of systematically reducing its employment of older

workers in order to build a younger workforce. Between 2012 and the present, IBM has



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laid off at least 20,000 employees over the age of forty. Such discriminatory layoff and

hiring practices constitute unlawful discrimination under the ADEA and state anti-

discrimination law.

       2.     Plaintiff brings these claims on behalf of himself and similarly situated IBM

employees across the country who may choose to opt in to this action pursuant to 29

U.S.C. §§ 216(b), 626(b).

       3.     Plaintiff also brings class claims under California law pursuant to Fed. R.

Civ. P. 23.

II.    PARTIES

       4.     Plaintiff Ryan Mount is 54 years old and resides in Nevada City, California.

Mr. Mount worked for IBM for approximately seven (7) years, before his separation,

effective on October 1, 2018.

       5.     Plaintiff brings these claims on behalf of himself and similarly situated IBM

employees across the country who may choose to opt in to this action pursuant to 29

U.S.C. §§ 216(b), 626(b).

       6.     Plaintiff also brings this case as a class action on behalf of himself and

similarly situated individuals over the age of forty (40) who worked for IBM in California

whose employment ended within the relevant period, pursuant to Fed. R. Civ. P. 23.

       7.     Defendant International Business Machines Corp. is a New York

corporation with its principal place of business in Armonk, New York. IBM is an

American multinational technology business that offers services and goods ranging from

computing, cloud platforms, advanced analytics tools and others.




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III.    JURISDICTION AND VENUE

        8.    This Court has general federal question jurisdiction over this matter

pursuant to 28 U.S.C. § 1331, because Plaintiff has brought a claim pursuant to the

federal Age Discrimination Employment Act, 29 U.S.C. § 621 et seq. This Court has

supplemental jurisdiction over the Plaintiff’s state law claims pursuant to 28 U.S.C.

§1367.

        9.    The Southern District of New York is the proper venue for this action

pursuant to 28 U.S.C. § 1391(b)(1) because IBM’s principal place of business is in

Armonk, New York.

IV.     STATEMENT OF FACTS

        10.   Plaintiff was among thousands of IBM employees to be laid off (or

otherwise separated from IBM) recently, as the result of a shift in IBM’s personnel focus

to the generation of workers referred to as “Millennials” (which IBM defines as the

generation born after 1980) that began in approximately 2012. At that time, IBM began

a program to reform itself into a leading company in the fields of cloud services, big data

analytics, mobile, security and social media. As a part of this transformation, IBM

endeavored to begin heavily recruiting Millennials in order to make the face of IBM

younger, while at the same time pushing out older employees. At the direction of IBM’s

CEO Virginia Rometty and other corporate leaders, IBM instituted a plan to bring in

25,000 younger employees that it referred to as “Early Professional Hires” or “New

Collar Hires.” At the same time, in order to make room for these younger workers, IBM

sought to reduce its headcount of older workers over a period of several years.




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       11.    In an article published by ProPublica following an investigation of IBM’s

hiring practices, ProPublica reported that it estimates that “in the past five years alone,

IBM has eliminated more than 20,000 American employees ages 40 and over, about 60

percent of its estimated total U.S. job cuts during those years.” Peter Gosselin and

Ariana Tobin, Cutting ‘Old Heads’ at IBM, ProPublica (March 22, 2018),

https://features.propublica.org/ibm/ibm-age-discrimination-american-workers/

       12.    As reported by ProPublica, IBM’s shift in focus toward the Millennial

workforce came as “IBM was falling behind . . . by failing to quickly devise innovative

uses for the internet like its new rivals, Google, Facebook, and Amazon.” Id. In

response to that problem, IBM’s CEO Virginia Rometty “launched a major overhaul that

aimed to make IBM a major player in the emerging technologies of cloud services, big

data analytics, mobile security and social media, or what came to be known inside as

CAMS” and “sought to sharply increase hiring of people born after 1980.” Id.

Additionally, IBM embraced the belief that “CAMS are driven by Millennial traits.” Id.

       13.    Moreover, in 2006 one of IBM’s consulting arms issued a paper that

referred to workers in the “Baby Boomer” generation as “gray hairs” and “old heads,”

stated that “successor generations . . . are generally much more innovative and

receptive to technology than baby boomers,” and advised that “What businesses can’t

afford to do is simply rehire their experienced workers and put them back into their old

jobs.” See, The Maturing Workforce: Innovation in Workforce Enablement, IBM

Business Consulting Services, https://www-935.ibm.com/services/uk/bcs/pdf/maturing-

workforce-feus01291-1.pdf (2006).




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       14.    As another expression of IBM’s shift in focus to embrace Millennials, at a

2014 IBM conference called “Reinvention in the Age of the Millennial,” IBM announced

its intent to “embrace the ‘Millennial mindset’” and announced that “What’s good for

Millennials is good for everyone.” See Reinvention in the Age of the Millennial,

https://ibmcai.com/2014/12/16/reinvention-in-the-age-of-the-millennial/ (Dec. 16, 2014).

       15.    Throughout the company, IBM implemented a plan to replace its

headcount of older workers with younger ones. In conversations and corporate

planning documents, executives and managers used terms such as “continuous talent

refresh,” “correcting seniority mix,” and “shifting headcount” toward “Early Professional

Hires.” Indeed, IBM had a goal of achieving 55% Early Professional Hires by 2020. In

2017, IBM CEO Virginia Rometty boasted on CNBC’s Mad Money that 50% of all IBM

employees were now Millennials.

       16.    IBM has reduced the population of its older workers through several

methods. Many older employees have been laid off through reductions in force or

layoffs, which IBM refers to as “Resource Actions.” (Meanwhile, IBM shields its

youngest employees from layoff, exempting recent college graduates following their hire

date.) IBM has also reduced its population of older workers by terminating older

employees for pretextual reasons, or by constructively discharging them, or by

conditioning their continued employment on untenable choices they are unlikely to

accept, such as relocation.

       17.    Additionally, while older workers who lost their jobs through layoffs that

IBM calls “Resource Actions” have frequently been encouraged to use IBM’s internal

hiring platform to apply for other open IBM positions for which they are qualified, IBM



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has generally prevented workers subject to these layoffs to be hired into other positions.

IBM has put obstacles in the way of such workers being hired into different positions,

thus helping to ensure that these older workers are removed from the company and

younger workers placed into open positions.

       18.    Prior to 2014, IBM provided lists to any workers who were laid off, which

disclosed the positions and ages of all the employees laid off from their business units

at the same time, as well as a list showing the positions and ages of all those in the

business units that were not being laid off. IBM distributed this information, presumably,

in order to comply with the Section 626(f) of the ADEA, which requires disclosure of this

information if an employer seeks to obtain a release of age discrimination claims from a

group of employees. However, in 2014, in an apparent effort to conceal its systematic

effort to shed its older workers, IBM stopped disclosing this information to the

employees. While IBM could no longer include a release of ADEA claims in its

severance agreements with its employees as a result, it opted instead to require its

employees to agree to binding individual arbitration of those claims, in order to receive a

small severance payment. Many IBM employees who were laid off, including the

named plaintiff in this action, rejected the severance offer and did not sign the

arbitration agreement.

       19.    On approximately August 31, 2020, the Equal Employment Opportunity

Commission (“EEOC”) issued a classwide determination following an investigation of

age discrimination at IBM. In that determination, the EEOC found reasonable cause to

believe that IBM discriminated older employees through layoffs that took place between

2013 and 2018. The EEOC explained in this determination letter that its investigation



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uncovered “top-down messaging from IBM’s highest ranks directing managers to

engage in an aggressive approach to significantly reduce the headcount of older

workers to make room for Early Professional Hires.” The EEOC revealed that it had

analyzed data from across the company and that it was primarily older workers (85%)

who were in the total potential pool of those considered for layoff. The EEOC stated in

the determination letter that its conclusion was supported by dozens of interviews it had

conducted across the company, and it rejected IBM’s attempt to justify and defend each

of the 58 layoffs analyzed in that investigation through individualized explanations.

       20.    Plaintiff Mount began working for IBM, in October 2011 and held the

position of Global Business Services Learning Experience Strategist. On June 10, 2018,

Plaintiff Mount received a letter from his manager informing him that he was being laid

off by IBM effective October 1, 2018. Plaintiff Mount was one of the oldest employees

in his group, and none of the younger employees were laid off. In the period leading up

to Mr. Mount’s layoff, IBM placed a special emphasis on hiring younger employees.

Plaintiff Mount was actively engaged in interviewing and training the new individuals

who were being hired, who were almost all in their twenties and thirties. At the time that

IBM informed Plaintiff Mount of his layoff, the only reason IBM provided was that IBM

had need for some skills more than others. Plaintiff Mount, however, had deep skillsets

in IBM’s three major growth areas – digital reinvention, disruption, and design thinking –

and he even helped design and develop the education programs used to train other IBM

employees in those skills. Although Plaintiff Mount applied to approximately fifteen (15)

positions through IBM’s internal hiring platform for which he was qualified, he did not




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receive any response to his applications beyond notices that he was no longer under

consideration.

V.     COLLECTIVE ACTION ALLEGATIONS

       21.      Plaintiff brings this case as a collective action under the ADEA on behalf

of IBM employees over the age of forty (40) who have worked anywhere in the country

whose employment separated within the relevant period, who may opt in to this action.

       22.      These employees who may opt in to this collective action are similarly

situated to the named Plaintiff. They have all worked for IBM under substantially similar

conditions and have all been subjected to IBM’s policy and practices of targeting for

layoff and disproportionately ending the employment of employees over forty (40) years

old. They have also all been subject to IBM’s policy of precluding those employees from

consideration for other open internal IBM positions for which they are qualified.

VI.    CLASS ACTION ALLEGATIONS

       23.      Plaintiff also brings a class action claim pursuant to Fed. R. Civ. P. 23

under the laws of California, on behalf of IBM employees over the age of forty (40) who

have worked for IBM in those respective states and whose employment separated

within the relevant period.

       24.      This California class meets the prerequisites of Fed. R. Civ. P. 23 in that:

             a. The class is so numerous that joining all members is impracticable. The

                exact number of the members of each class is unknown, but it is

                estimated that there have been well more than forty (40) IBM employees

                over the age of forty (40) whose employment has ended in California




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       within the relevant period. As a result, joinder of all of these individuals is

       impracticable.

    b. There are questions of fact and law common to all of the putative class

       members, because all of those individuals were subject to IBM’s uniform

       effort to shift its personnel focus to Millennials, leading to the unlawful

       termination of a disproportionate number of older IBM employees, in

       violation of California law.

    c. With respect to these common issues, the claims of the named plaintiff are

       typical of the claims of IBM employees over the age of forty (40) who had

       worked in California and who lost their jobs with IBM.

    d. Plaintiff and his counsel will fairly and adequately represent the interests

       of each class. Plaintiff has no interests adverse to or in conflict with the

       class members whom he proposes to represent. Plaintiff’s counsel has

       litigated and successfully resolved many dozens of class action cases

       involving employment law and have substantial experience representing

       employees in discrimination claims.

    e. The questions of law or fact common to all members of the class

       predominate over any questions affecting only individual members. The

       common questions include, among other things, whether IBM targeted

       older employees for layoff, or otherwise disproportionately ended the

       employment of older workers, and whether IBM refused to consider hiring

       those employees to other open positions for which they were qualified due

       to their age.



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               f. Litigating these claims as a class action is superior to other available

                  methods for the fair and efficient adjudication of these claims. Among

                  other things, individual adjudications would result in a highly inefficient

                  duplication of discovery for many IBM employees in California, briefing of

                  legal issues, and court proceedings.

VII.     EXHAUSTION OF ADMINISTRATIVE REMEDIES

         25.      Former named Plaintiffs in this matter Edvin Rusis, Henry Gerrits, Claudia

Ziegler, and Sally Gehring exhausted their administrative remedies before the EEOC

prior to initiating this lawsuit. Additionally, the EEOC has investigated IBM’s employment

practices since at least 2014, and on August 31, 2020, issued a Letter of Determination

finding reasonable cause to believe that IBM has engaged in age discrimination on a

companywide basis.



                                             COUNT I

                (Age Discrimination in Employment Act, 29 U.S.C. § 621, et seq.)
                               (On Behalf of Plaintiff and Class)

         26.      Plaintiff re-alleges and incorporates the above paragraphs by reference as

if fully set forth herein.

         27.      IBM’s conduct in systematically targeting for separation employees who

are older than forty (40), including Plaintiff, as well as refusing to consider those

employees for other open IBM positions for which they are qualified, constitutes age

discrimination in violation of the ADEA. IBM’s violation of the ADEA has been knowing

and willful. As a direct and proximate cause of IBM’s discrimination, Plaintiff and

similarly situated employees have lost their jobs.


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       28.     This claim is brought on behalf of a class of IBM employees across the

country who may choose to opt in to this case, pursuant 29 U.S.C. §§ 216(b), 626(b).


                                           COUNT II

     (California Fair Employment and Housing Act, Cal. Gov’t Code § 12900, et seq.)
                    (On Behalf of Plaintiff Mount and a California Class)

       29.     Plaintiff re-alleges and incorporates the above paragraphs by reference as

if fully set forth herein.

       30.     Plaintiff Mount brings this claim as a class action, pursuant to Fed. R. Civ.

P. 23, on behalf of IBM employees who have worked in California during the relevant

period and have been subjected to the discriminatory practices described herein. IBM’s

conduct in systematically targeting for separation employees who are older than forty

(40), including Plaintiff Mount, as well as refusing to consider those employees for other

open IBM positions for which they are qualified, constitutes age discrimination in

violation of the California Fair Employment and Housing Act, Cal. Gov’t Code § 12900,

et seq. IBM’s violation of California law has been knowing and willful. As a direct and

proximate cause of IBM’s discrimination, Plaintiff Mount and similarly situated

employees who have worked in California, have lost their jobs.


                                           JURY DEMAND

       Plaintiff requests a trial by jury on all claims.




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WHEREFORE, Plaintiff requests that this Court enter the following relief:

      1.      Permission for Plaintiff to notify other IBM employees of their right to opt-in
      to this action under the ADEA, pursuant to 29 U.S.C. §§ 216(b), 626(b);

      2.     Find and declare that IBM violated the Age Discrimination in Employment
      Act, 29 U.S.C. § 621 et seq.;

      3.    Certify a class action pursuant to Fed. R. Civ. P. 23 under Count II and
      appoint Plaintiff Mount, and his counsel, to represent a class of IBM employees
      who were over the age of forty (40), worked for IBM in California, and whose
      employment with IBM ended within the relevant time period;

      4.   Award compensatory damages, including back pay and front pay, in an
      amount according to proof;

      5.     Reinstate Plaintiff and similarly situated employees to their positions;

      6.     Award all costs and attorney’s fees incurred prosecuting this claim;

      7.   Award liquidated damages and all appropriate statutory and regulatory
      damages;

      8.     Award interest;

      9.    Issue injunctive relief in the form of an order directing IBM to comply with
      the ADEA and California law;

      10.    Any other relief to which Plaintiff and class members may be entitled.




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                                           Respectfully Submitted,
                                           RYAN MOUNT on behalf of himself and all
                                           others similarly situated,
                                           By his attorneys,
                                           /s/ Shannon Liss-Riordan________________
                                           Shannon Liss-Riordan (NY Bar No. 2971927)
                                           Thomas Fowler, pro hac vice
                                           Zachary Rubin (NY Bar No. 5442025)
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Dated:         July 22, 2022




                               CERTIFICATE OF SERVICE

         I, Shannon Liss-Riordan, hereby certify that a true and accurate copy of the

foregoing document was served on all counsel of record for Defendant in this matter by

electronic mail on July 22, 2022


                                           /s/ Shannon Liss-Riordan
                                           Shannon Liss-Riordan




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